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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                   CASE NO. 1:89-cr-01018-MP

CARL EUGENE GRIFFIN,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 1268, Mr. Griffin's Motion to Reduce Sentence

pursuant to retroactive application of Sentencing Guidelines to Crack Cocaine Offenses and 18

U.S.C. § 3582. Previously, however, the Court, sua sponte, entered an order finding that Mr.

Griffin is not eligible for a reduction. Specifically, the Court at Doc. 1253 held:

       Here, the defendant is currently serving a sentence of life, which was the only
       option for his Total Offense Level of 44. Under the Amended Guidelines, his
       range is still life, because of the quantity of drugs attributed to him. Because the
       amendment does not lower the guideline range applicable to this defendant, §
       1B1.10(a)(1) does not permit the Court to reduce the original sentence.

Nothing in the motion at Doc. 1268 supports departing from the Court's previous ruling.

Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion for reduction of sentence, Doc. 1268, is denied.

       DONE AND ORDERED this 29th day of December, 2008


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
